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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 21-2989-MDL-ALTONAGA/Torres


    In re: JANUARY 2021 SHORT SQUEEZE
    TRADING LITIGATION




   This Document Relates to the Federal Securities Action


             JOINT STATUS REPORT AND [PROPOSED] SCHEDULING ORDER


          WHEREAS, on October 15, 2021, the Court entered an Order appointing Blue Laine-

   Beveridge as Lead Plaintiff and approving the selection of The Rosen Law Firm, P.A. as Lead

   Counsel in the Federal Securities Tranche (ECF No. 420) (the “Lead Plaintiff Order”);

          WHEREAS, the Court’s Lead Plaintiff Order required Lead Counsel in the Federal

   Securities Tranche to confer and file a joint status report on or before October 22, 2021, “proposing

   procedural and/or other next steps the Court should take to ensure the just and efficient disposition

   of the federal securities cases in this MDL” (ECF No. 420);

          WHEREAS, Lead Counsel has conferred with counsel for Defendants Robinhood Markets,

   Inc., Robinhood Financial LLC and Robinhood Securities, LLC (together, “Robinhood”);

          NOW, THEREFORE, Lead Counsel and Counsel for Robinhood hereby stipulate and

   agree, and respectfully request that the Court enter an Order as follows:

          1. Lead Plaintiff shall file an amended complaint on or before November 30, 2021.

          2. Robinhood shall move to dismiss, answer or otherwise respond to Lead Plaintiff’s

              amended complaint on or before January 7, 2022.

          3. If Robinhood moves to dismiss the amended complaint, Lead Plaintiff shall file his

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              opposition to the motion to dismiss on or before February 4, 2022, and Robinhood shall

              file its reply brief in support of its motion to dismiss on or before February 18, 2022.



   Respectfully submitted,


   /s/ Laurence M. Rosen                                /s/ Samuel A. Danon
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                                                        Counsel for Defendants Robinhood Markets,
                                                        Inc., Robinhood Financial LLC and
                                                        Robinhood Securities, LLC




   SO ORDERED this ___ day of ____________, 2021.



                                                _________________________________
                                                The Honorable Cecilia M. Altonaga
                                                Chief United States District Judge



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